                     Case 2:13-cv-00193 Document 775-9 Filed on 11/19/14 in TXSD Page 1 of 3
From                                Daughtry    Lisa

To                                  Spinks   Margaret
CC                                  Heselmeyer      Diane

Sent                                11152013 21834 PM
Subject                             RE   EIC Staff Head Count




My     mobile crew     was


Bryan Williams        A11           65 hours
Steve    Lopez A11             25 hours

Rudy Ruiz     A11 14 hours
Gloria Ahrens   A11 24 hours

Their total =     925


Best regards



Lisa    Daughtry

Assistant    Manager
License       Record        Service

Driver    License     Division

5124245973
lisadaughtrydpstexasgov


From Daughtry Lisa
Sent Friday November 15 2013                   158 PM
To Spinks Margaret
Cc Heselmeyer Diane
Subject FW EIC Staff Head Count
Importance           High



Margaret        in   addition to the      Saturday employees on the spread sheet     I   had dedicated                  staff   working   EIC   related   tasks


myself included         This   is   our best faith estimate for the period between   July
                                                                                            10th   and November 14th



Deanna      Trautman A11                 34 hours
Lydia Goforth        A15            76 hours
Olivia   Garcia      A15        86 hours
Esther Vasquez         B19            182 hours

Cyndee Fowler  B19 289 hours
Lisa Daughtry B22  196 hours



Total    hours for this      team = 863 hours


Body count between Saturday workers and                     this   team = 39
Total    hours for both      groups =      1367


Best regards



Lisa    Daughtry
Assistant    Manager                                                           2:13-cv-193
                                                                                                   exhibitsticker.com




License       Record        Service                                            09/02/2014
Driver    License     Division

5124245973                                                                     DEF1444
lisadaughtryadpstexasgov




                                                                                                                                                          TEX0506133
                      Case 2:13-cv-00193 Document 775-9 Filed on 11/19/14 in TXSD Page 2 of 3
From Heselmeyer Diane
Sent Thursday November 14 2013                 127 PM
To Spinks Margaret Daughtry Lisa
Subject FW EIC Staff Head Count
Importance            High



Lisa


I   forgot to      add that        3 3   employees worked on Saturdays                  not all employees worked          every
Saturday


Thank     you

Diane Heselmeyer Assistant Manager
License and Record Service

diane heselmeyer•Pdps              texas gov

Work 512           4242001         Cell    512 4151799
Fax 512 4245948


We are creating a faster easier and friendlier                  driver license     experience   and a safer Texas


From Heselmeyer Diane
Sent Thursday November 14 2013                 117 PM
To Daughtry Lisa
Cc Spinks Margaret
Subject FW EIC Staff Head Count
Importance            High



Lisa


Attached         is   the spreadsheet for Saturday                work days Add your information for the daily hours
and     this will       be complete


Thank     you

Diane Heselmeyer Assistant Manager
License    and Record           Service

dianeheseli7ieyerCdpstexasgov
Work 512 4242001                   Cell    512 4151799
Fax 512 4245948


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From Spinks           Margaret
Sent Thursday November 14 2013 957 AM
To Daughtry Lisa Heselmeyer Diane
Subject FW EIC Staff Head Count
Importance            High


Lisa    and Diane



Please    see Saundras           email below       This is a priority assignment



Staff   should     be saving     everything   to    PLicense    IssuanceProcessing       and Routing   Services   StaffVOTER
ID® EIC                Sara and     Cari   worked    most Saturdays and should have       the   spreadsheet up to date to be able to

quickly   locate      this   information




                                                                                                                                       TEX0506134
                       Case 2:13-cv-00193 Document 775-9 Filed on 11/19/14 in TXSD Page 3 of 3
Lisa      also include             the normal time you Cyndee and Esther have spent on reviewing                           IC   documents


Return to       me by noon tomorrow


Thank     You
Margaret Spinks Manager
Driver License            Division

License        and Record           Service

5124247243
margaret spinksa dpstexasgov


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From Truett            Saundra

Sent Thursday November 14 2013 943 AM
To Mastracchio               JoeAnna      Gipson   Sheri Hibbs     Rebekah         Spinks Margaret Carlisle Andrea
Subject         EIC Staff      Head Count



I
    am trying to get a head count               of   everyone that has worked             on EIC here      at   HQ and Camp Mabry


               Priority      just a head count names would be                 helpful     but not   necessary Anyone who has spent          ANY time
           normal andor OTcomp                       to assist with     anything    directly   related    to   EIC
               Later   Ill    need rough estimate          of   hours   spent by those who          have work        EIC regular and   OTcomp

Would     it   be possible          to   get the head count     by this week or by         Monday         The estimated hours can come next week


I
    appreciate you guys taking the time to get the data and                         let   me know    if
                                                                                                          you have any questions
Thanks


Saundra          Truett

Sr     Financial    Analyst
Driver    License       Division

Texas Department of Public Safety
5124626168                   phone
5124245233                   fax

saundra truettcdps texas gov




                                                                                                                                                   TEX0506135
